        Case: 1:20-cr-00101 Document #: 31 Filed: 05/06/21 Page 1 of 17 PageID #:100


    FIL ED              JMK
      /2021
      5/6
                . BRUTO N       UNITED STATES DISTRICT COURT
   THOMA.SDG  IS TRICT COUR
                            T
CLER K , U .S                   NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


      UNITED STATES OF AMERICA                 )   No. 20 CR 101
                                               )   Violations:   18 U.S.C. SS 371, 666(a)(2),
             v.                                )                 and 1952(a)(3) and 26 U.S.C.
                                               )                 s 7206(1)
      PATRICK DOHERTY                          )   Supersedine Indictment
                                                                       JUDGE GUZMAN
                                                                 MAGISTRATE JUDGE FUENTES
                                             COUNT ONE

            The SPECIAL JANUARY 2020 GRAND JURY charges:

            1.     At times material:

                   a.     Company A was a Chicago-area company that provided red-light

     cameras that enabled municipalities to enforce certain traffic violations and issue

    traffic-violation tickets.

                   b.     Defendant PATRICK DOHERTY was a sales agent for Company

    A. DOHERTY was also a manager of PMD Consulting LLC, which also served as a

     sales agent for Company A.

                   c.     Individual A had an ownership interest in Company A.

                   d.     Individual B was a sales agent for Company A.

                   e.     The Village of Oak Lawn was a unit of local government located

    in the Northern District of lllinois. The governing body of the Village of Oak Lawn

    was known as the Board of Trustees.

                   t.     Trustee    l was an elected member of the Board of Trustees.
                   g.     Relative   1   was a member of Trustee l's immediate family.
   Case: 1:20-cr-00101 Document #: 31 Filed: 05/06/21 Page 2 of 17 PageID #:101




             h.     On or about February 25,2014, the Board ofTrustees approved a

contract for Company A to provide red-light cameras to the Village of Oak Lawn at

specified intersections. The contract was scheduled to expire     in or around   2018

without additional approval from the Board of Trustees. Pursuant to this contract,

Company A periodically sent Oak Lawn officials video segments of proposed traffic

violations captured by Company A's red-light cameras, and Oak Lawn officials

subsequently decided which violations to approve. Company A obtained a portion of

the proceeds generated from the approved-and-paid-for violations, and, in turn,

Company A paid a portion of those proceeds to sales agents responsible for obtaining

contracts for Company A to provide red-light-camera services to municipalities. The

installation of additional red-light cameras at intersections not specified in the

contract between Oak Lawn and Company A required approval from the Board of

Trustees.

      2.     From no later than in or around May 20t7 and continuing until in or

around August 20L7, at Oak Lawn, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                               PATRICK DOHERTY,

defendant herein, knowingly conspired and agreed with Individual A and Individual

B to commit an offense against the United States, that is, to use and cause to be used

a facility in interstate commerce with the intent to promote, manage, and carry on,

and to facilitate the promotion, management, and carrying on of an unlawful activity,

namely, bribery in violation of 720ILCS 5/33-1(a) and (b), and thereafber to perform
                                          2
   Case: 1:20-cr-00101 Document #: 31 Filed: 05/06/21 Page 3 of 17 PageID #:102




and attempt to perform an act of promotion, management, and carrying on, and

facilitation of the promotion, management, and carrying on of the unlawful activity,

in violation of Tit1e 18, United States Code, Section 1952(a)(3).

                       Manner and Means of the Conspiracy
      3.     It   was part of the conspiracy that DOHERTY, Individual A, and

Individual B agreed to pay money to Trustee 1's family member, Relative 1, in order

to influence Trustee   1   to use his official position to cause the installation by Company

A of red-Iight cameras at additional intersections within Oak Lawn.

      4.     It was further part     of the conspiracy   that DOHERTY, Individual A, and

Individual B agreed to make payments to Relative 1 totaling approximately $4,000

over an eight-week period.

      5.     It was further part     of the conspiracy   that, in order to conceal the purpose

of the payments made to Relative 1, as well as Company A's interest in the payments,

DOHERTY, Individual A, and Individual B agreed that the payments to Relative                 1


would be made by DOHERTY from PMD Consulting.

      6.     It was further part of the conspiracy that, at around the same time as
the conspirators sought Trustee 1's assistance with the installation by Company A of

red-light cameras at additional intersections within Oak Lawn, Individual B told

Trustee 1 of the plan to pay Relative 1 $500 a week over a two-month period.

      7.     It was further part     of the conspiracy   that DOHERTY, Individual A, and

Individual B communicated about and coordinated their efforts to bribe Trustee               1
   Case: 1:20-cr-00101 Document #: 31 Filed: 05/06/21 Page 4 of 17 PageID #:103




through payments made to Relative 1 by using facilities of interstate commerce,

namely, cellular telephones and their associated communications networks.

      8.     It   was further part of the conspiracy that DOHERTY caused a $500

check to be issued by PMD Consulting, made payable to the order of Relative 1.

      9.     It was further part   of the conspiracy   that DOHERTY, Individual A, and

Individual B concealed, misrepresented, and hid, and caused to be concealed,

misrepresented, and hidden, the existence and purpose of the conspiracy and the acts

done in furtherance of the conspiracy.

                                       Overt Acts
      10. In furtherance of the conspiracy and to effect its unlawful objectives,
DOHERTY, Individual A, and Individual B committed and caused to be committed

the following overt acts, among others, in the Northern District of Illinois and

elsewhere:

             a.      On or about May 23, 20lT,Individual B used a cellular telephone

to tell Trustee 1 of the plan to pay Relative 1 $500 a week over a two-month period.

             b.      On or about May 25, 2OI7, DOHERT'Y used a cellular telephone

to tell Individual B that DOHERTY would make payments to Relative 1 "if it's going

to get us the job," and later added, "I'Il just pay it. Just make sure we get the, make

sure we get the fucking thing, the contract."

             c.      On or about May 30, 2017, DOHERTY used a cellular telephone

to teII Individual A that DOHERTY was going to pay Relative 1 'Just on the chance

of, uh, that we can get the other ones in Oak Lawn and get [Trustee 1] on our side."
                                            4
   Case: 1:20-cr-00101 Document #: 31 Filed: 05/06/21 Page 5 of 17 PageID #:104




             d.     On or about May 30, 2017, DOHERTY used a cellular telephone

to tell lndividual B that Relative 1 would "make $4,000 over the summer, 500 bucks

a week."

             e.     On or about June L3, 2017 , DOHERTY used a cellular telephone

to tell Relative 1 that "it's not like I need ya," but that Relative 1 would nonetheless

receive $500 a week for eight weeks.

             f.     On or about June L5, 2017, DOHERTY caused a check in the

amount of $500 to be made by PMD Consulting, payable to the order of Relative       1.


             g.     On or about June 15, 20L7, DOHERTY gave Relative 1 a $500

check from PMD Consulting.

      All in violation of Title   1-8,   United States Code, Section 371.
   Case: 1:20-cr-00101 Document #: 31 Filed: 05/06/21 Page 6 of 17 PageID #:105




                                   COUNT TWO

      The SPECIAL JANUARY 2020 GRAND JURY further charges:

      On or about June 13,2017, at approximately 4:25 p.m., at Chicago, in the

Northern District of lllinois, Eastern Division, and elsewhere,

                               PATRICK DOHERTY,

defendant herein, used and caused to be used a facility      in interstate   commerce,

namely, a cellular telephone and an associated communication network, with intent

to promote, manage, carry on, and facilitate the promotion, management,            and

carrying on of an unlawful activity, namely, bribery in violationof 720ILCS 5/33-1(a)

and (b), and thereafter the defendant did perform and attempt to perform an act to

carry on and facilitate the promotion and carrying on of said unlawful activity;

      In violation of Title 18, United States Code, Section 1952(a)(3) and   2.




                                          6
   Case: 1:20-cr-00101 Document #: 31 Filed: 05/06/21 Page 7 of 17 PageID #:106




                                  COUNT THREE

      The SPECIAL JANUARY 2020 GRAND JURY further charges:

      On or about June 15, 2017, at approximately 11:02 &.fl., at Chicago, in the

Northern District of Illinois, Eastern Division, and elsewhere,

                               PATRICK DOHERTY,

defendant herein, used and caused to be used a facility      in interstate   commerce,

namely, a cellular telephone and an associated communication network, with intent

to promote, manage, carry on, and facilitate the promotion, management,            and

carrying on of an unlawful activity, namely, bribery in violationof 720ILCS 5/33-1(a)

and @), and thereafter the defendant did lrerform and attempt to perform an act to

carry on and facilitate the promotion and carrying on of said unlawful activity;

      In violation of Title 18, United States Code, Section 1952(a)(3) and 2.
   Case: 1:20-cr-00101 Document #: 31 Filed: 05/06/21 Page 8 of 17 PageID #:107




                                   COUNT FOUR

      The SPECIAL JANUARY 2020 GRAND JURY further charges:

       1.    At times material:

             a.     Company B was a Chicago-area development company.

             b.     Individual A had an ownership interest in Company B.

             c.     Public Official A was the Mayor of the Village of McCook. As

Mayor, Public Official A had the authority to act on behalf of the Village of McCook

by entering into agreements with, and authorizing payments to, vendors, including

Company B.

      2.     From no later than in or around September 2018 and continuing until

in or around September 2019, at McCook, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                                PATRICK DOHERTY,

defendant herein, knowingly conspired and agreed with Public Official A to commit

an offense against the United States, that is, to use and cause to be used a facility in

interstate commerce with the intent to promote, manage, and carry on, and to

facilitate the promotion, management, and carrying on of an unlawful activity,

namely, bribery in violation of 720ILCS 5/33-1(d) and (e), and thereafber to perform

and attempt to perform an act of promotion, management, and carrying on, and

facilitation of the promotion, management, and carrying on of the unlawful activity,

in violation of Title 18, United States Code, Section 1952(a)(3).
   Case: 1:20-cr-00101 Document #: 31 Filed: 05/06/21 Page 9 of 17 PageID #:108




                     Manner and Means of the Conspiracy
      3.     It was part of the conspiracy that DOHERTY and Public Official A
agreed to solicit and accept money from Individual A,   in return for Public Official A

using his official position to cause the VilIaSe of McCook to enter into agreements

with, and to make payments to, Company B.

      4.     It was further part of the conspiracy that DOHERTY solicited Individual

A to make payments to Public Official A.

      5.     It was further part   of the conspiracy that DOHERTY and Public Official

A communicated about and coordinated their efforts to solicit money from Individual

A by using facilities of interstate commerce, namely, cellular telephones and their

associated communications networks.

      6.     It was further part   of the conspiracy that DOHERTY and Public Official

A concealed, misrepresented, and hid, and caused to be concealed, misrepresented,

and hidden, the existence and purpose of the conspiracy and the acts done in

furtherance of the conspiracy.

                                      Overt Acts
      7.     In furtherance of the conspiracy and to effect its unlawful    objectives,

DOHERTY and Public Official A committed and caused to be committed the following

overt acts, among others, in the Northern District of Illinois and elsewhere:

             a.     On or about September 6, 2018, DOHERTY used a cellular

telephone to tell Individual A to make a bribe payment to Public Official A.


                                            I
   Case: 1:20-cr-00101 Document #: 31 Filed: 05/06/21 Page 10 of 17 PageID #:109




              b.    On or about September 12,2018, Pub1ic Officia1 A accepted $3,655

in cash from Individual A.

               c.   On or about August 2L, 2019, DOHERTY used               a cellular
telephone to tell Individual A that Individual A should pay a bribe of $2,500 to Public

Official A.

               d.   On or about September 4,2019, Public Official A accepted $2,500

in cash from Individual A.

               e.   On or about September 5, 2019, DOHERTY used a cellular

telephone to   tell Individual A that (1) DOHERTY would make sure that Public
Official A would sign a Village of McCook check made to Company B, and (2) whether

Individual A and Company B could obtain additional work from McCook was "all

contingent on what you can give . . . ."

      A1l in violation of Title 18, United States Code, Section 371.




                                           10
   Case: 1:20-cr-00101 Document #: 31 Filed: 05/06/21 Page 11 of 17 PageID #:110




                                   COUNT FIVE
      The SPECIAL JANUARY 2020 GRAND JURY further charges:

      1.     The allegations in paragraphs 1(a) through 1(c) of Count One are

realleged and incorporated here.

      2.     At times material:

             a.     The State of Illinois was a government that received in excess of

$10,000 in federal benefits during the 2019 calendar year.

             b.     Individual C was a sales agent for Company A.

             c.     State Senator A was an Illinois State Senator and the Chairman

of the Senate Transportation Committee. As Chairman of the Senate Transportation

Committee, State Senator    A was in a position to assist Company A by opposing
legislation adverse to the interests of the red-light-camera industry and obtaining

Illinois Department of Transportation ("IDOT") approvals for Company A's red-Iight

cameras.

      3.     From no later than in or around June 2019, and continuing at least until

in or around September 2019, at Chicago, in the Northern District of Illinois, Eastern

Division, and elsewhere,

                               PATRICK DOHERTY,

defendant herein, together with Individual C, corruptly offered and agreed to give

things of value, namely, money, with intent to influence and reward State Senator A,

an agent of the State of Illinois, in connection with any business, transaction, and

series of transactions of the State of Illinois involving a thing of value of $5,000 or
                                          11
  Case: 1:20-cr-00101 Document #: 31 Filed: 05/06/21 Page 12 of 17 PageID #:111




more, namely, opposing legislation ad.verse to the interests of the red-Iight-camera

industry and ohtaining IDOT approvals for Company A s red-light cameras;

      In violation of Title 18, United States Code, Section 666(a)(2).




                                          L2
   Case: 1:20-cr-00101 Document #: 31 Filed: 05/06/21 Page 13 of 17 PageID #:112




                                     COUNT SD(

      The SPECIAL JANUARY 2020 GRAND JURY further charges:

      On or about August 22, 2015, at Lyons, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                PATRICK DOHERTY,

defendant herein, willfully made and subscribed, and caused to be made and

subscribed,   a United States Individual Income Tax Return (Form          1040 with

schedules and attachments) for the calendar year 2074, which return was verifi.ed by

written declaration that it was made under penalties of perjury and was filed with

the Internal Revenue Service, which return he did not believe to be true and correct

as to every material matter,   in that said return reported on Line 22 that the total

income was $167,331, when defendant knew that the total income substantially

exceeded   that amount;

      In violation of Title 26, United States Code, Section 7206(l).




                                          13
  Case: 1:20-cr-00101 Document #: 31 Filed: 05/06/21 Page 14 of 17 PageID #:113




                                   COUNT SEVEN

      The SPECIAL JANUARY 2020 GRAND JURY further charges:

      On or about June 23, 2016, at Lyons, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                PATRICK DOHERTY,

defendant herein, willfully made and subscribed, and caused to be made and

subscribed,   a United States Individual Income Tax Return (Form          1040 with

schedules and attachments) for the calendar year 2015, which return was verified by

written declaration that it was made under penalties of perjury and was fiIed with

the Internal Revenue Service, which return he did not believe to be true and correct

as to every material matter,   in that said return reported on Line 22 that the total

income was $191,783, when defendant knew        that the total income substantially
exceeded   that amount;

      In violation of Title 26, United States Code, Section 7206(l).




                                          t4
  Case: 1:20-cr-00101 Document #: 31 Filed: 05/06/21 Page 15 of 17 PageID #:114




                                  COUNT EIGHT

      The SPECIAL JANUARY 2020 GRAND JURY further charges:

      On or about October 16, 2017, at Bridgeview, in the Northern District of

Illinois, Eastern Division, and elsewhere,

                               PATRICK DOHERTY,

defendant herein, willfully made and subscribed, and caused to be made and

subscribed,   a United States Individual Income Tax Return (Form           1040 with

schedules and attachments) for the calendar year 2016, which return was verified by

written declaration that it was made under penalties of perjury and was filed with

the Internal Revenue Service, which return he did not believe to be true and correct

as to every material matter, in that said return reported on Line 22 that the total

income was $225,437, when defendant knew          that the total income substantially
exceeded   that amount;

      In violation of Title 26, United States Code, Section 72O6(L).




                                             15
   Case: 1:20-cr-00101 Document #: 31 Filed: 05/06/21 Page 16 of 17 PageID #:115




                                   COUNT NINE

      The SPECIAL JANUARY 2020 GRAND JURY further charges:

      On or about August 9,20L9, at Lincolnwood, in the Northern District of Illinois,

Eastern Division, and elsewhere,

                                PATRICK DOHERTY,

defendant herein, willfully made and subscribed, and caused to be made and

subscribed,   a United States Individual Income Tax Return (Form           1040 with

schedules and attachments) for the calendar year 2017, which return was verified by

written declaration that it was made under penalties of perjury and was filed with

the Internal Revenue Service, which return he did not believe to be true and correct

as to every material matter,   in that said return reported on Line 22 that the total
income was $318,265, when defendant knew that the total income substantially

exceeded   that amount;

      In violation of Title 26, United States Code, Section 7206(L).




                                          16
  Case: 1:20-cr-00101 Document #: 31 Filed: 05/06/21 Page 17 of 17 PageID #:116




                                    COUNT TEN

      The SPECIAL JANUARY 2020 GRAND JURY further charges:

      On or about October 2, 2019, at Lincolnwood, in the Northern District of

Illinois, Eastern Division, and elsewhere,

                               PATRICK DOHERTY,

defendant herein, willfu1ly made and subscribed, and caused to be made and

subscribed,   a United States Individual Income Tax Return (Form            1040 with

schedules and attachments) for the calendar year 2018, which return was verified by

written declaration that it was made under penalties of perjury and was filed with

the Internal Revenue Service, which return he did not believe to be true and correct

as to every material matter,   in that said return reported on Line 6 that the total
income was $350,179, when defendant knew           that the total income substantially
exceeded   that amount;

      In violation of Title 26, United States Code, Section 7206(L).

                                                  A TRUE BILL:




                                                  FOREPERSON



Signed by Amarjeet S. Bhachu
on behalf of the
UNITED STATES ATTORNEY




                                             t7
